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20                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
21                               OAKLAND DIVISION

22
     ROBERT ROSS, an individual,            Case No. 4:19-cv-06669 (JST)
23
                             Plaintiff,     JOINT STIPULATION OF
24   vs.                                    DISMISSAL
25   AT&T MOBILITY, LLC,                    Hon. Jon S. Tigar
26                           Defendants.
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                                                                Case No. 4:19-cv-06669 (JST)
                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
       Case 4:19-cv-06669-JST Document 139 Filed 03/03/22 Page 2 of 3



 1           JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
 2         COME NOW Plaintiff Robert Ross, by and through his undersigned counsel,
 3   and Defendants AT&T Mobility LLC, One Touch Direct LLC, and One Touch
 4   Direct-San Antonio LLC, by and through their respective undersigned counsel, and,
 5   being all of the parties to this action, jointly stipulate and agree pursuant to Rule
 6   41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure that this action, and each and
 7   every count and claim asserted therein, be dismissed with prejudice, each party to
 8   bear their own costs, expenses and fees.
 9         Respectfully Submitted this Third Day of March, 2022,
10

11   ANDRUS ANDERSON LLP                        GIBSON, DUNN & CRUTCHER LLP
12
     By: /s/ Jennie Lee Anderson                By: /s/ Ashley Elizabeth Johnson
13   Jennie Lee Anderson                        Ashley Elizabeth Johnson
14
     Counsel for Plaintiff, Robert Ross         Counsel for Defendant AT&T
15                                              Mobility LLC
16                                              BUCHALTER, A P.C.
17
                                                By: /s/ Alissa Renee Pleau-Fuller
18                                              Alissa Renee Pleau-Fuller
19                                              Counsel for Defendants One Touch
                                                Direct LLC and One Touch Direct-
20                                              San Antonio LLC
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28                                        1                 Case No. 4:19-cv-06669 (JST)
                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
       Case 4:19-cv-06669-JST Document 139 Filed 03/03/22 Page 3 of 3



 1                                 ECFATTESTATION
 2         Pursuant to Civil L.R. 5-1(i)(3), the filing attorney attests that concurrence
 3   regarding the filing of this document has been obtained from the signatories above.
 4
     Date: March 3, 2022                    By: /s/ Jennie Lee Anderson_____
 5                                                  Jennie Lee Anderson
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                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
